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                      PROCEDURAL TENTATIVE RULING
                    ISSUED BY JUDGE LAURA S. TAYLOR


  Adversary Case Name: SARA ORTEGA DE BURQUEZ v. U.S.
  DEPARTMENT OF EDUCATION


  Adversary Number:          22-90005
  Case Number:               21-04162-LA7
  Hearing:            09:30 AM Thursday, August 25, 2022
  Motion:      PRE-TRIAL STATUS CONFERENCE (fr 5/5/22)


  1. A Pre-Trial Status Conference has been noticed before the Honorable
  Laura S. Taylor:
  Date: August 25, 2022
  Time: 9:30 a.m.
  Location: Jacob Weinberger United States Courthouse, Department 3, Room
  129, 325 West "F" Street, San Diego, California 92101-6991
  2. Although the Court will conduct the hearing in person, any interested party
  may request to attend the hearing remotely using the services of Zoom Video
  Communications, Inc. ("Zoom"). To participate in the hearing remotely via Zoom,
  you must request a Zoom appearance in advance no later than 10:00 a.m., two
  business days before the date of the hearing. To request a Zoom appearance,
  call our Courtroom Deputy, Russell Paluso, at (619) 557-5157.
  3. Please consult the Hybrid Hearing Guidelines for Department Three (the
  "Guidelines") found on the Court's website, for a description of matters where
  Zoom attendance is typically allowed. The Court will otherwise allow Zoom
  appearance where justified on a case by case basis. In particular, the Court
  strongly prefers in-Court appearance for initial pre-trial status conferences and
  matters where significant argument is anticipated. Also note that a subsequent
  Tentative Ruling may state that a Zoom appearance is not allowed.
  3. All participants (whether attending in person or remotely) must observe the
  formalities of the courtroom, exercise civility, and otherwise conduct themselves
  in a manner consistent with the dignity of the Court. This includes appropriate
  courtroom attire for those participants appearing by video.
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  4. PLEASE NOTE: No person may record the proceedings from any location by
  any means.
  5. A further case specific Tentative will follow.
